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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

 MOSKOWITZ FAMILY LLC,

 Plaintiff,

 v.                                                Civil Action No. 19-cv-672-ADA

 GLOBUS MEDICAL, INC.,

 Defendant.


                                     [PROPOSED] ORDER

        Having reviewed Defendant Globus Medical, Inc.’s Motion to Transfer Venue and to

Dismiss Indirect Infringement Allegations, and the materials submitted therewith and in support,

as well as the materials submitted in opposition, the motion is hereby GRANTED on the ground

that the Western District of Texas is an improper venue for the case. Because venue in this district

is not proper and the case is dismissed on that ground, the Court need not reach and does not

resolve the portion of the motion related to the Complaint’s indirect infringement allegations.




                                                     ALAN ALBRIGHT
                                                     UNITED STATES DISTRICT JUDGE
